Case 2:18-cv-06637-KAM-ARL Document 52-6 Filed 09/07/20 Page 1 of 20 PageID #: 582




                             EXHIBIT D
Case 2:18-cv-06637-KAM-ARL Document 52-6 Filed 09/07/20 Page 2 of 20 PageID #: 583
Case 2:18-cv-06637-KAM-ARL Document 52-6 Filed 09/07/20 Page 3 of 20 PageID #: 584
Case 2:18-cv-06637-KAM-ARL Document 52-6 Filed 09/07/20 Page 4 of 20 PageID #: 585
Case 2:18-cv-06637-KAM-ARL Document 52-6 Filed 09/07/20 Page 5 of 20 PageID #: 586
Case 2:18-cv-06637-KAM-ARL Document 52-6 Filed 09/07/20 Page 6 of 20 PageID #: 587
Case 2:18-cv-06637-KAM-ARL Document 52-6 Filed 09/07/20 Page 7 of 20 PageID #: 588
Case 2:18-cv-06637-KAM-ARL Document 52-6 Filed 09/07/20 Page 8 of 20 PageID #: 589
Case 2:18-cv-06637-KAM-ARL Document 52-6 Filed 09/07/20 Page 9 of 20 PageID #: 590
Case 2:18-cv-06637-KAM-ARL Document 52-6 Filed 09/07/20 Page 10 of 20 PageID #: 591
Case 2:18-cv-06637-KAM-ARL Document 52-6 Filed 09/07/20 Page 11 of 20 PageID #: 592
Case 2:18-cv-06637-KAM-ARL Document 52-6 Filed 09/07/20 Page 12 of 20 PageID #: 593
Case 2:18-cv-06637-KAM-ARL Document 52-6 Filed 09/07/20 Page 13 of 20 PageID #: 594
Case 2:18-cv-06637-KAM-ARL Document 52-6 Filed 09/07/20 Page 14 of 20 PageID #: 595
Case 2:18-cv-06637-KAM-ARL Document 52-6 Filed 09/07/20 Page 15 of 20 PageID #: 596
Case 2:18-cv-06637-KAM-ARL Document 52-6 Filed 09/07/20 Page 16 of 20 PageID #: 597
Case 2:18-cv-06637-KAM-ARL Document 52-6 Filed 09/07/20 Page 17 of 20 PageID #: 598
Case 2:18-cv-06637-KAM-ARL Document 52-6 Filed 09/07/20 Page 18 of 20 PageID #: 599
Case 2:18-cv-06637-KAM-ARL Document 52-6 Filed 09/07/20 Page 19 of 20 PageID #: 600
Case 2:18-cv-06637-KAM-ARL Document 52-6 Filed 09/07/20 Page 20 of 20 PageID #: 601
